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                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF MICHIGAN
                                     SOUTHERN DIVISION

                                                              HON.PATRICK J.DUGGAN
                                                              CASE NO.11-20427-1
    UNITED STATES OF AMERICA,

    -V-

    RICARDO DEL VALLE,

                                             /

                ORDER GRANTING MOTION FOR SENTENCE REDUCTION

                           At a session of said Court, held in the U.S.
                             District Courthouse, Eastern District
                             of Michigan, on December 12, 2013.


          This matter is before the Court on motion of the United States for a sentence

    reduction; therefore

          IT IS ORDERED that the Motion for a Sentence Reduction be and the same is

    hereby GRANTED.



                                  s/Patrick J. Duggan
                                  Patrick J. Duggan
                                  United States District Judge

    Dated: December 12, 2013

    I hereby certify that a copy of the foregoing document was served upon counsel of record
    on December 12, 2013, by electronic and/or ordinary mail.

                                  s/Marilyn Orem
                                  Case Manager
